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     DANNY D. BRACE, JR., #114466
1    LAW OFFICE OF DANNY D. BRACE, JR.
     901 H Street, Suite 500
2    Sacramento, CA 95814
     (916) 552-6660
3    Fax: (916) 447-0592
4    Attorney for Defendant
5

6                                IN THE UNITED STATES DISTRICT COURT

7                            FOR THE EASTERN DISTRICT OF CALIFORNIA

8
                                                     )   Case No.: 2:12 CR 0293 JAM
9    UNITED STATES OF AMERICA,                       )
                                                     )
10                  Plaintiff,                       )   STIPULATION REGARDING
                                                     )   EXCLUDABLE TIME PERIODS UNDER
11          vs.                                      )   SPEEDY TRIAL ACT FINDINGS AND
                                                     )   ORDER
12   SILVANO VARGAS ESTRADA,                         )
                                                     )
13                  Defendant                        )
14

15
            Plaintiff, United States of America, by and through its counsel of record, and the
16
     defendant SILVANA VARGAS ESTRADA, by and through his counsel of record, hereby
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18   stipulate as follows:

19          1.      By previous order, this matter was set for sentencing on December 3, 2013.

20          2.      By this stipulation, the defendants now move to continue the sentencing until

21   February 18, 2014 at 9:45 a.m., and to exclude time between December 3, 2013 and February 18,
22   2014 under Local Code T4. Plaintiff does not oppose this request.
23
            3.      The parties agree and stipulate, and request that the Court find the following:
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            a.      Counsel for the defendant is in trial in the Sacramento County Superior Court and
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     needs additional time to prepare for sentencing.



                                   STIP AND ORDER TO EXTEND TIME - 1
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            b.      Counsel for the defendant believe that failure to grant the above-requested
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     continuance would deny them the reasonable time necessary for effective preparation, taking into
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3    account the exercise of due diligence.

4           c.      The government does not object to the continuance.

5           d.      Based on the above-stated findings, the ends of justice served by continuing the

6    case as requested outweigh the interest of the public and the defendants in a trial within the
7    original date prescribed by the Speedy Trial Act.
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            e.      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,
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     et seq., within which trial must commence, the time period of December 3, 2013, to February 18,
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     2014, at 9:45 a.m. inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv)
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     [Local Code T4] because it results from a continuance granted by the Court at defendant’s
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     request on the basis of the Court's finding that the ends of justice served by taking such action
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     outweigh the best interest of the public and the defendants in a speedy trial.
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                    4.      Nothing in this stipulation and order shall preclude a finding that other
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16   provisions of the Speedy Trial Act dictate that additional time periods are excludable from the

17   period within which a trial must commence.

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     Respectfully submitted,
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22
     Date: 12-2-13                                                 By: /s/ Danny D. Brace, Jr.,
23                                                                 DANNY D. BRACE, JR.,
                                                                   Attorney for
24                                                                 Silvano Vargas Estrada
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     Date: 12-2-13                                  By:/s/ Jill Thomas
1                                                   Authorized to sign for Ms. Thomas
                                                    On December 2, 2013
2
                                                    Jill Thomas
3                                                   Assistant U.S. Attorney

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5    IT IS SO ORDERED:

6    Dated: 12/2/2013
7                                             /s/ John A. Mendez_______
                                              HON. JOHN A. MENDEZ
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                           STIP AND ORDER TO EXTEND TIME - 3
